CARRINGTON

 

 

 

 

MORTGAGE SERVICES, LLC
P.O. Box 5001 “Le
Westfield, IN 46074 Exhibit D
0000002 02 SP 0.810 **SNGLP T1 19282 04263-324903 -C14-P00000.|
JOSHUA LUNA
3 JEANIE DRIVE Loan Number
LEEDS ME 04263-3249

Property Address:
85 SUMMIT AVE

a “ees

08/01/2022

NOTICE OF RIGHT TO CURE

Dear Mortgagor(s):

The above-referenced loan on behalf of CARRINGTON MORTGAGE SERVICES, LLC is in default because the monthly
payment(s) due on and after 01/01/2022 have not been received. You have thirty-five (35) days from the date this notice is
given to cure the default by paying the amounts that are past due. As of the date of this letter, the total amount to cure the
default is $8,502.04 less $0.00, monies held in a separate suspense account. Please refer to the attached Exhibit A for the
itemized breakdown of the total amount due. The total amount due does not include any amounts that become due after
the date of this notice.

Please remit the total amount due utilizing one of the following payment resources:

 

First Class, Overnight or Certified Mail | Western Union! | MoneyGram!
Carrington Mortgage Services, LLC | Quick Collect (any location) | Receive Code - 7998
Cashiering Dept. 2-270 | Code City - CARRINGTONMS |
1600 South Douglass Road, Suites 110 & 200-A | Code State - CA |

|

Anaheim, CA 92806 |

 

1 You will pay a fee using this method of payment.

If you are unable to bring your account current, you may have available options other than foreclosure. You are encouraged
to explore available options prior to the end of the right-to-cure period by contacting:

e Carrington Mortgage Services, LLC’s toll free number at 1-800-561-4567, Monday through Friday 8:00 a.m. to 8:00
p.m. Eastern Time: or by mail at P.O. Box 3010, Anaheim, CA 92803: or

e The Department of Housing and Urban Development’s (HUD) Hotline Number at 1-800-569-4287 or you can visit
their website for a list of HUD-approved counselors in Maine at
http://www.hud.gov/offices/hsg/sfh/hce/hes.cfm?webListAction=search&searchstate=me to find out other options
you may have to avoid foreclosure. A list of HUD-approved counselors in Maine is attached to this notice as
Exhibit B.

NO571 a Page 1 of 6

9282-14-XX-XXXXXXX-0001-0003959

 
 

If you are interested in loan modification, please contact our Home Retention Department's toll free number at
1-800-561-4567, or by mail at P.O. Box 3010, Anaheim, CA 92803.

Failure to cure the delinquency within thirty-five (35) days of the date this notice is given may result in acceleration of the
sums secured by the mortgage and in the sale of the property. If you pay the total amount due before the time specified in
this notice, you will be restored to all rights under the mortgage as though the default had not occurred. You also have the
right in any lawsuit for foreclosure and sale to argue that you did keep your promises and agreements and to assert the
nonexistence of a default or any other defense to acceleration and foreclosure. You may request mediation to explore
options for avoiding foreclosure judgment.

You have the right to reinstate the loan after acceleration until such time as a foreclosure judgment has been entered if you:
1) pay the full amount that then would be due as if immediate payment in full had not been required: 2) correct your failure
to keep any of your other promises or agreements made in the note and mortgage: 3) pay all of lender's reasonable expenses
in enforcing the note and mortgage including, for example, reasonable attorney's fees; and 4) do whatever the lender
reasonably requires to assure that lender's rights in the subject property, lender's rights under the note and mortgage, and
your obligations under the note and mortgage remain unchanged. If you meet those conditions, you will have the right to
have the enforcement of the mortgage discontinued and to have the note and mortgage remain fully effective as if payment in
full had not been required.

Should you have any questions, please contact our Loan Counseling Department, toll free, at 1-800-561-4567, Monday
through Friday 8:00 AM to 8:00 PM Eastern Time.

Sincerely,

Loan Servicing Department
Carrington Mortgage Services, LLC

NOS571 a Page 2 of 6

9282-14-XX-XXXXXXX-0001-0003959

 
IMPORTANT DISCLOSURES

-VERBAL INQUIRIES & COMPLAINTS-

For verbal inquiries and complaints about your mortgage loan, please contact the CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m. Eastern
Time, Monday through Friday. You may also visit our website at https://carringtonmortgage.com/.

-IMPORTANT BANKRUPTCY NOTICE-

If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have not
reaffirmed the mortgage, or if you are the subject of a pending bankruptcy proceeding, this letter is not an attempt to
collect a debt from you but merely provides informational notice regarding the status of the loan. If you are represented
by an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING AND DIRECT DISPUTES-

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms
of your credit obligations. If you have concerns regarding the accuracy of any information contained in a consumer
report pertaining to this account, you may send a direct dispute to Carrington Mortgage Services, LLC by fax to
800-486-5134 or in writing to Carrington Mortgage Services, LLC, and Attention: Customer Service, P.O. Box 5001,
Westfield, IN 46074. Please include your loan number on all pages of the correspondence.

-MINI MIRANDA-

This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained
will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and
does not imply that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy
laws of the United States.

-HUD COUNSELOR INFORMATION-

If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287 or
toll-free TDD (800) 877-8339, or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the
CFPB at (855) 411-2372, or by going to www.consumerfinance.gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-

The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant’s income derives from any public assistance program; or because
the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal Agency that
administers Carrington Mortgage Services, LLC's compliance with this law is the Federal Trade Commission, Equal
Credit Opportunity, Washington, DC 20580.

-SCRA DISCLOSURE-

MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections and
benefits to eligible military service personnel, including protections from foreclosure as well as interest rate relief. For
additional information and to determine eligibility please contact our Military Assistance Team toll free at

(888) 267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-

Written complaints and inquiries classified as Notices of Error and Information Requests or QVVRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC, and
Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages of
the correspondence. You have the right to request documents we relied upon in reaching our determination. You may
request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m. Eastern
Time. You may also visit our website at https://carringtonmortgage.com/.

NO571 a Page 3 of 6

9282-14-XX-XXXXXXX-0002-0003958

   
 

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Nos71 a Page 4 of

9282-14-XX-XXXXXXX-0002-0003958

 
CARRINGTON

MORTGAGE SERVICES, LLC
Date : 08/01/2022
Loan Number a

EXHIBIT A

ITEMIZED BREAKDOWN OF THE TOTAL AMOUNT DUE

PRINCIPAL & INTEREST 7 PAYMENT(S) @
ESCROW 6 PAYMENT(S) @
ESCROW 1 PAYMENT(S) @

UNCOLLECTED LATE CHARGES
PROPERTY INSPECTION FEE
PROP PRES - PHOTOS

TOTAL

NO571

 

9282-14-XX-XXXXXXX-0003-0003957

$786.54
387.07
$395.73

$5,505.78
$2,322.42
$395.73
$188.11
$60.00
$30.00
$8,502.04

Page 5 of 6
 

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NO571 Page 6 of 6

 

9282-14-XX-XXXXXXX-0003-0003957
 

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AROOSTOOK COUNTY ACTION PROGRAM, INC.
Address: 771 Main St, Presque Isle, Maine, 04769-2201
Phone: (207) 764-3721

Email:

Mortgage Delinquency ond Default Resolution Counseling

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Agency Id: 80502
Counseling Method: Group Counseling, Phone Counseling,
Video Conference, Face to Foce Counseling,

 

 

 

 

 

 

 

Website: hitp://www.acap-me.org Pre-Purchase Counseling English NIA
Agency Id: 83641 Pre-Purchase Homebuyer Education Workshops
Counseling Method: Group Counseling, Internet Counseling,
Phone Counseling, Video Conference,
Face to Face Counseling,
AVESTA HOUSING DEVELOPMENT CORPORATION Mortgage Del and Default Resolution Counseli
Address: 307 Cumberland Avenue, PORTLAND, Maine, 04101-4920 ak i
Phone: (207) 553-7780 Ext: 3347 d .
gc ae : . Pre-Purchase Homebuyer Education Workshops
Email: ndigeronimo@Davestahousing.org sila :
: Financial Management /Budget Counseling asa
Website: www.avestahousing.org : English W/A
Rental Housing Counseling
Agency Id: 81144 i
i . Rental Housing Workshops
Counseling Method: Group Counseling, Internet Counseling,
; Non-Delinquency Post Purchase Workshops
Other Counseling, Phone Counseling, ee .
s Home Improvement and Rehabilitation Counseling
Video Conference, Face to Face Counseling,
Mortgage Delinquency and Default Resolution Counseling
COASTAL ENTERPRISES, INCORPORATED ee one Education Worksh
Address: 30 Federal Street, BRUNSWICK, Maine, 04011-1510 SG a RG
Financial Management /Budget Counseling
Phona: (207) 504-5900 : E ;
aa ze Fair Housing Pre-Purchase Education Workshops ;
Email: jason.thomas@ceimaine.org : English
i \ ne Services for Homeless Counseling i WHA
Website: http://www.ceimaine.org ; : Spanish
Predatory Lending Education Workshops
Agency Id: 80985 : ;
‘ aps 5 4 Rental Housing Counseling
C gM Internet C ling, Phone C q,
Fen te Face Comesaling Reverse Mortgage Counseling
Non-Delinquency Post Purchase Workshops
Home improvement and Rehabilitation Counseling
COMMGHITY CONCERTS: ING: AISG DBE HOMEQUENTMAINE Mortgage Delinquency and Default Resolution Counselin
Address: 17 Market Sq, South Poris, Maine, 04281-1533 ng ened " g
Pre-Purchase Counseling
Phone: (207) 333-6419 :
: : Pre-Purchase Homebuyer Educotion Workshops ;
Email: homequest@2community-toncepts.org ek : English N/A
: ; er 1 Financial Management/Budget Counseling
Website: hitps://www.ccimaine.org/ 2 :
Agency Id: 81580 Fair Housing Pre-Purchase Education Workshops
Counseling Method: Phone Counseling, Face to Face Counseling, penal outing Counseling
FOUR DIRECTIONS DEVELOPMENT CORPORATION
Address: 20 Godfrey Or, Orono, Maine, 04473-3610 .
Phone: (207) 866-6545 Pre-Purchase Counseling
Email: Pre-Purchase Homebuyer Education Workshops
Bast httnsi/ ts ; Financial Management /Budget Counseling ge
fip://www.fourdirectionsmaine.org inoncial, Rudaeti Credit Worksh English NiA
Agency Id: 83879 |Finoncial, Budgeting, and Credit Workshops
3 . . Non-Delinquency Post Purchase Workshops
Counseling Method: Group Counseling, Internet Counseling, ees i
Sa Home Improvement and Rehabilitation Counseling
Phone Counseling, Video Conference,
Face to Face Counseling,
MENNEBEC VALLEY COMMUNITY ACTION PROGRAM
Address: 101 Water St, Waterville, Maine, 04901-6339
Phone: (800) 542-8227 Mortgage Delinquency and Default Resolution Counseling
Email: inlo(@kveop.org Pre-Purchase Counseling is WA
Website: hitp://www.kyvcap.org Pre-Purchase Homebuyer Education Workshops a
Agency Id: 81685 Financial Management /Budget Counseling
Counseling Method: Internet Counseling, Phone Counseling,
Face to Face Counseling,
|MAINE STATE HOUSING AUTHORITY
Address: 26 Edison Dr, Augusta, Maine, 04330-6046
Phone: (207) 626-4600 : |
Email: jgurney@mainehousing.org ease WA
Website: hitp://www.moinetousing.org
Agency Id: 81227
MIDCOAST MAINE COMMUNITY ACTION
Address: 34 Wing Farm Pkwy, Bath, Maine, 04590-1515
Phone: (207) 442-7963
Email: info@mmcacorp.org Services for Homeless Counseling English WA
Website: hitp://midcoustmainecommunityaction.org Rental Housing Workshops Spanish

 

92.82-14-00-1102-00004-090039 56

 
 

PENQUIS COMMUNITY ACTION PROGRAM
Address: 26? Harlow Si, Bangor, Maine, 0440) -4952
Phone: (207) 973-3500

Mortgage Delinquency and Defaull Resolution Counseling
Pre-Purchase Counseling

 

 

 

ae j ; Pre-Purchase Homebuyer Education Workshops agin ae
Moblin: Bites {eww gong cicogg Financial, Budgeting, and Credit Workshops
Agency Id: 81649 eee P
Counseling Method: Phone Counseling, Foce to Face Counseling,
Mortgage Delinquency and Default Resolution Counseling
YORK COUNTY COMMUNITY ACTION AGENCY Pre-Purchase Counseling
Address: 6 Spruce Street, SANFORD, Maine, 04073-2917 Pre-Purchase Homebuyer Education Workshops
Phone: (207) 459-2903 financial Management/Budget Counseling
Email: meaghan.arzberger@yccac.org Fair Housing Pre-Purchase Education Workshops English N/A

Website: http://www.yccac.org

Agency Id; 81150

Counseling Method: Group Counseliag, Phone Counseling,
Video Conference, Face to Face Counseling,

 

 

Services for Homeless Counseling

Predatory Lending Education Workshops

Rental Housing Counseling

Non-Delinquency Post Purchase Workshops

Home Improvement and Rebabilitation Counseling

 

 

 

 

 

 

9282-14-XX-XXXXXXX-0004-0003956

 

 
eee SES
CARRINGTON
MORTGAGE SE RVICES, LLC
P.O. Box 5001
Westfield, IN 46074

0000001 02 SP. 0.810 **SNGLP T1 19282 04240-613985 -C14-P00000-!
JOSHUA LUNA
85 SUMMIT AVE Loan Number
LEWISTON ME 04240-6139
Property Address:

85 SUMMIT AVE

a ees

08/01/2022

NOTICE OF RIGHT TO CURE

Dear Mortgagor(s):

The above-referenced loan on behalf of CARRINGTON MORTGAGE SERVICES, LLC is in default because the monthly
payment(s) due on and after 01/01/2022 have not been received. You have thirty-five (35) days from the date this notice is
given to cure the default by paying the amounts that are past due. As of the date of this letter, the total amount to cure the
default is $8,502.04 less $0.00, monies held in a separate suspense account. Please refer to the attached Exhibit A for the
itemized breakdown of the total amount due. The total amount due does not include any amounts that become due after
the date of this notice.

Please remit the total amount due utilizing one of the following payment resources:

 

First Class, Overnight or Certified Mail | Western Union! | MoneyGram!
Carrington Mortgage Services, LLC | Quick Collect (any location) | Receive Code - 7998
Cashiering Dept. 2-270 | Code City - CARRINGTONMS |
1600 South Douglass Road, Suites 110 & 200-A | Code State - CA |

|

Anaheim, CA 92806 |

 

1 You will pay a fee using this method of payment.

If you are unable to bring your account current, you may have available options other than foreclosure. You are encouraged
to explore available options prior to the end of the right-to-cure period by contacting:

e Carrington Mortgage Services, LLC’s toll free number at 1-800-561-4567, Monday through Friday 8:00 a.m. to 8:00
p.m. Eastern Time: or by mail at P.O. Box 3010, Anaheim, CA 92803; or

e The Department of Housing and Urban Development’s (HUD) Hotline Number at 1-800-569-4287 or you can visit
their website for a list of HUD-approved counselors in Maine at
http://www.hud.gov/offices/hsg/sfh/hce/hes.cfm?webListAction=search&searchstate=me to find out other options
you may have to avoid foreclosure. A list of HUD-approved counselors in Maine is attached to this notice as
Exhibit B.

NO571 a Page 1 of 6

9282-14-XX-XXXXXXX-0001-0003955

 

   
If you are interested in loan modification, please contact our Home Retention Department’s toll free number at
1-800-561-4567, or by mail at P.O. Box 3010, Anaheim, CA 92803.

Failure to cure the delinquency within thirty-five (35) days of the date this notice is given may result in acceleration of the
sums secured by the mortgage and in the sale of the property. If you pay the total amount due before the time specified in
this notice, you will be restored to all rights under the mortgage as though the default had not occurred. You also have the
right in any lawsuit for foreclosure and sale to argue that you did keep your promises and agreements and to assert the
nonexistence of a default or any other defense to acceleration and foreclosure. You may request mediation to explore
options for avoiding foreclosure judgment.

You have the right to reinstate the loan after acceleration until such time as a foreclosure judgment has been entered if you:
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to keep any of your other promises or agreements made in the note and mortgage: 3) pay all of lender's reasonable expenses
in enforcing the note and mortgage including, for example, reasonable attorney's fees; and 4) do whatever the lender
reasonably requires to assure that lender's rights in the subject property, lender's rights under the note and mortgage, and
your obligations under the note and mortgage remain unchanged. If you meet those conditions, you will have the right to
have the enforcement of the mortgage discontinued and to have the note and mortgage remain fully effective as if payment in
full had not been required.

Should you have any questions, please contact our Loan Counseling Department, toll free, at 1-800-561-4567, Monday
through Friday 8:00 AM to 8:00 PM Eastern Time.

Sincerely,

Loan Servicing Department
Carrington Mortgage Services, LLC

 

NO571 Page 2 of 6

9282-14-XX-XXXXXXX -0001-0003955
IMPORTANT DISCLOSURES

-VERBAL INQUIRIES & COMPLAINTS-

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DEPARTMENT for Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m. Eastern
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If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have not
reaffirmed the mortgage, or if you are the subject of a pending bankruptcy proceeding, this letter is not an attempt to
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by an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING AND DIRECT DISPUTES-

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms
of your credit obligations. If you have concerns regarding the accuracy of any information contained in a consumer
report pertaining to this account, you may send a direct dispute to Carrington Mortgage Services, LLC by fax to
800-486-5134 or in writing to Carrington Mortgage Services, LLC, and Attention: Customer Service, P.O. Box 5001,
Westfield, IN 46074. Please include your loan number on all pages of the correspondence.

-MINI MIRANDA-

This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained
will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and
does not imply that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy
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-HUD COUNSELOR INFORMATION-

If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287 or
toll-free TDD (800) 877-8339, or by going to http:/Avww.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the
CFPB at (855) 411-2372, or by going to www.consumerfinance.gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-

The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant’s income derives from any public assistance program; or because
the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal Agency that
administers Carrington Mortgage Services, LLC's compliance with this law is the Federal Trade Commission, Equal
Credit Opportunity, Washington, DC 20580.

-SCRA DISCLOSURE-

MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections and
benefits to eligible military service personnel, including protections from foreclosure as well as interest rate relief. For
additional information and to determine eligibility please contact our Military Assistance Team toll free at

(888) 267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-

Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC, and
Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages of
the correspondence. You have the right to request documents we relied upon in reaching our determination. You may
request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m. Eastern
Time. You may also visit our website at https://carringtonmortgage.com/.

9282-14-XX-XXXXXXX-0002-0003954

 
 

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NO571 Page 4 of 6

 

9282-14-XX-XXXXXXX -0002-0003954
CARRINGTON

MORTGAGE SERVICES, LLC

Date : 08/01/2022

Loan Number aa

EXHIBIT A

ITEMIZED BREAKDOWN OF THE TOTAL AMOUNT DUE

PRINCIPAL & INTEREST 7 PAYMENT(S) @
ESCROW 6 PAYMENT(S) @
ESCROW 1 PAYMENT(S) @

UNCOLLECTED LATE CHARGES
PROPERTY INSPECTION FEE
PROP PRES - PHOTOS

TOTAL

NO571

 

9282-14-00-000000 1-0003-0003953

$786.54
387.07
$395.73

$5,505.78
$2,322.42
$395.73
$188.11
$60.00
$30.00
$8,502.04

Page 5 of 6
 

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NO571 Page 6 of 6

 

9282-14-XX-XXXXXXX -0003-0003953
 

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AROOSTOOK COUNTY ACTION PROGRAM, INC.
Address: 771 Main St, Presque Isle, Maine, 04769-2201
Phone: (207) 764-3721

Email:

Mortgage Delinquency ond Default Resolution Counseling

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Agency Id: 80502
Counseling Method: Group Counseling, Phone Counseling,
Video Conference, Face to Foce Counseling,

 

 

 

 

 

 

 

Website: hitp://www.acap-me.org Pre-Purchase Counseling English NIA
Agency Id: 83641 Pre-Purchase Homebuyer Education Workshops
Counseling Method: Group Counseling, Internet Counseling,
Phone Counseling, Video Conference,
Face to Face Counseling,
AVESTA HOUSING DEVELOPMENT CORPORATION Mortgage Del and Default Resolution Counseli
Address: 307 Cumberland Avenue, PORTLAND, Maine, 04101-4920 ak i
Phone: (207) 553-7780 Ext: 3347 d .
gc ae : . Pre-Purchase Homebuyer Education Workshops
Email: ndigeronimo@Davestahousing.org sila :
: Financial Management /Budget Counseling asa
Website: www.avestahousing.org : English W/A
Rental Housing Counseling
Agency Id: 81144 i
i . Rental Housing Workshops
Counseling Method: Group Counseling, Internet Counseling,
; Non-Delinquency Post Purchase Workshops
Other Counseling, Phone Counseling, ee .
s Home Improvement and Rehabilitation Counseling
Video Conference, Face to Face Counseling,
Mortgage Delinquency and Default Resolution Counseling
COASTAL ENTERPRISES, INCORPORATED ee one Education Worksh
Address: 30 Federal Street, BRUNSWICK, Maine, 04011-1510 SG a RG
Financial Management /Budget Counseling
Phona: (207) 504-5900 : E ;
aa ze Fair Housing Pre-Purchase Education Workshops ;
Email: jason.thomas@ceimaine.org : English
i \ ne Services for Homeless Counseling i WHA
Website: http://www.ceimaine.org ; : Spanish
Predatory Lending Education Workshops
Agency Id: 80985 : ;
‘ aps 5 4 Rental Housing Counseling
C gM Internet C ling, Phone C q,
Fen te Face Comesaling Reverse Mortgage Counseling
Non-Delinquency Post Purchase Workshops
Home improvement and Rehabilitation Counseling
COMMGHITY CONCERTS: ING: AISG DBE HOMEQUENTMAINE Mortgage Delinquency and Default Resolution Counselin
Address: 17 Market Sq, South Poris, Maine, 04281-1533 ng ened " g
Pre-Purchase Counseling
Phone: (207) 333-6419 :
: : Pre-Purchase Homebuyer Educotion Workshops ;
Email: homequest@2community-toncepts.org ek : English N/A
: ; er 1 Financial Management/Budget Counseling
Website: hitps://www.ccimaine.org/ 2 :
Agency Id: 81580 Fair Housing Pre-Purchase Education Workshops
Counseling Method: Phone Counseling, Face to Face Counseling, penal outing Counseling
FOUR DIRECTIONS DEVELOPMENT CORPORATION
Address: 20 Godfrey Or, Orono, Maine, 04473-3610 .
Phone: (207) 866-6545 Pre-Purchase Counseling
Email: Pre-Purchase Homebuyer Education Workshops
Bast httnsi/ ts ; Financial Management /Budget Counseling ge
fip://www.fourdirectionsmaine.org inoncial, Rudaeti Credit Worksh English NiA
Agency Id: 83879 |Finoncial, Budgeting, and Credit Workshops
3 . . Non-Delinquency Post Purchase Workshops
Counseling Method: Group Counseling, Internet Counseling, ees i
Sa Home Improvement and Rehabilitation Counseling
Phone Counseling, Video Conference,
Face to Face Counseling,
MENNEBEC VALLEY COMMUNITY ACTION PROGRAM
Address: 101 Water St, Waterville, Maine, 04901-6339
Phone: (800) 542-8227 Mortgage Delinquency and Default Resolution Counseling
Email: inlo(@kveop.org Pre-Purchase Counseling is WA
Website: hitp://www.kyvcap.org Pre-Purchase Homebuyer Education Workshops a
Agency Id: 81685 Financial Management /Budget Counseling
Counseling Method: Internet Counseling, Phone Counseling,
Face to Face Counseling,
|MAINE STATE HOUSING AUTHORITY
Address: 26 Edison Dr, Augusta, Maine, 04330-6046
Phone: (207) 626-4600 : |
Email: jgurney@mainehousing.org ease WA
Website: hitp://www.moinetousing.org
Agency Id: 81227
MIDCOAST MAINE COMMUNITY ACTION
Address: 34 Wing Farm Pkwy, Bath, Maine, 04590-1515
Phone: (207) 442-7963
Email: info@mmcacorp.org Services for Homeless Counseling English WA
Website: hitp://midcoustmainecommunityaction.org Rental Housing Workshops Spanish

 

9282-1 4-004 1-4 -080039 52

 
 

PENQUIS COMMUNITY ACTION PROGRAM
Address: 26? Harlow Si, Bangor, Maine, 04401 -4952
Phone: (207) 973-3500

Mortgage Delinquency and Defaul! Resolution Counseling
Pre-Purchase Counseling

 

 

 

ae ; Pre-Purchase Homebuyer Education Workshops agin mh
peeioins Dr Sew gong Financial, Budgeting, and Credit Workshops
Agency Id: 81649 : !
Counseling Method: Phone Counseling, Foce to Face Counseling,
Mortgage Delinquency and Default Resolution Counseling
YORK COUNTY COMMUNITY ACTION AGENCY Pre-Purchase Counseling
Address: 6 Spruce Street, SANFORD, Maine, 04073-2917 Pre-Purchase Homebuyer Education Workshops
Phone: (207) 459-2903 financial Management/Budget Counseling
Email: meaghan.arzberger@yccac.org Fair Housing Pre-Purchase Education Workshops English WA

Website: http://www.yccac.org

Agency Id; 81150

Counseling Method: Group Counseliag, Phone Counseling,
Video Conference, Face to Face Counseling,

 

 

Services for Homeless Counseling

Predatory Lending Education Workshops

Rental Housing Counseling

Non-Delinquency Post Purchase Workshops

Home Improvement and Rebabilitation Counseling

 

 

 

 

 

 

9282-14-00-000000 1-0004-0003952

 

 
CARRINGTON

MORTGAGE SERVICES, LLC

P.O. Box 5001
Westfield, IN 46074

 

9214 8901 3536 2840 4237 05

0000003 02 SP. 0.810 **SNGLP T2 19282 04263-324903 -C06-P00000-!
JOSHUA LUNA
3 JEANIE DRIVE Loan Number a

LEEDS ME 04263-3249
Property Address:

85 SUMMIT AVE
LEWISTON, ME 04240

 

08/01/2022

NOTICE OF RIGHT TO CURE

Dear Mortgagor(s):

The above-referenced loan on behalf of CARRINGTON MORTGAGE SERVICES, LLC is in default because the monthly
payment(s) due on and after 01/01/2022 have not been received. You have thirty-five (35) days from the date this notice is
given to cure the default by paying the amounts that are past due. As of the date of this letter, the total amount to cure the
default is $8,502.04 less $0.00, monies held in a separate suspense account. Please refer to the attached Exhibii A for the
itemized breakdown of the total amount duc. The total amount due does not include any amounts that become due after
the date of this notice.

Please remit the total amount due utilizing one of the following payment resources:

 

First Class, Overnight or Certified Mail | Western Union! | MoneyGram!
Carrington Mortgage Services, LLC | Quick Collect (any location) | Receive Code - 7998
Cashiering Dept. 2-270 | Code City - CARRINGTONMS |
1600 South Douglass Road, Suites 110 & 200-A | Code State - CA |

|

Anaheim, CA 92806 |

 

1 You will pay a fee using this method of payment.

If you are unable to bring your account current, you may have available options other than foreclosure. You are encouraged
to explore available options prior to the end of the right-to-cure period by contacting:

e Carrington Mortgage Services, LLC’s toll free number at 1-800-561-4567, Monday through Friday 8:00 a.m. to 8:00
p.m. Eastern Time: or by mail at P.O. Box 3010, Anaheim, CA 92803; or

e The Department of Housing and Urban Development’s (HUD) Hotline Number at 1-800-569-4287 or you can visit
their website for a list of HUD-approved counselors in Maine at
http://www.hud.gov/offices/hsg/sfh/hce/hes.cfm?webListAction=search&searchstate=me to find out other options
you may have to avoid foreclosure. A list of HUD-approved counselors in Maine is attached to this notice as
Exhibit B.

NO571 a Page 1 of 6

9282-06-XX-XXXXXXX-0001-0003 128
Failure to cure the delinquency within thirty-five (35) days of the date this notice is given may result in acceleration of the
sums secured by the mortgage and in the sale of the property. If you pay the total amount due before the time specified in
this notice, you will be restored to all rights under the mortgage as though the default had not occurred. You also have the
right in any lawsuit for foreclosure and sale to argue that you did keep your promises and agreements and to assert the
nonexistence of a default or any other defense to acceleration and foreclosure. You may request mediation to explore
options for avoiding foreclosure judgment.

If you are interested in loan modification, please contact our Home Retention Department’s toll free number at
1-800-561-4567, or by mail at P.O. Box 3010, Anaheim, CA 92803.

You have the right to reinstate the loan after acceleration until such time as a foreclosure judgment has been entered if you:
1) pay the full amount that then would be due as if immediate payment in full had not been required: 2) correct your failure
to keep any of your other promises or agreements made in the note and mortgage: 3) pay all of lender's reasonable expenses
in enforcing the note and mortgage including, for example, reasonable attorney's fees; and 4) do whatever the lender
reasonably requires to assure that lender's rights in the subject property, lender's rights under the note and mortgage, and
your obligations under the note and mortgage remain unchanged. If you meet those conditions, you will have the right to
have the enforcement of the mortgage discontinued and to have the note and mortgage remain fully effective as if payment in
full had not been required.

Should you have any questions, please contact our Loan Counseling Department, toll free, at 1-800-561-4567, Monday
through Friday 8:00 AM to 8:00 PM Eastern Time.

Sincerely,

Loan Servicing Department
Carrington Mortgage Services, LLC

NO571 Page 2 of 6

 

9282-06-XX-XXXXXXX-0001-0003 128
IMPORTANT DISCLOSURES

-VERBAL INQUIRIES & COMPLAINTS-

For verbal inquiries and complaints about your mortgage loan, please contact the CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m. Eastern
Time, Monday through Friday. You may also visit our website at https://carringtonmortgage.com/.

-IMPORTANT BANKRUPTCY NOTICE-

If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have not
reaffirmed the mortgage, or if you are the subject of a pending bankruptcy proceeding, this letter is not an attempt to
collect a debt from you but merely provides informational notice regarding the status of the loan. If you are represented
by an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING AND DIRECT DISPUTES-

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms
of your credit obligations. If you have concerns regarding the accuracy of any information contained in a consumer
report pertaining to this account, you may send a direct dispute to Carrington Mortgage Services, LLC by fax to
800-486-5134 or in writing to Carrington Mortgage Services, LLC, and Attention: Customer Service, P.O. Box 5001,
Westfield, IN 46074. Please include your loan number on all pages of the correspondence.

-MINI MIRANDA-

This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained
will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and
does not imply that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy
laws of the United States.

-HUD COUNSELOR INFORMATION-

If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287 or
toll-free TDD (800) 877-8339, or by going to http:/Avww.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the
CFPB at (855) 411-2372, or by going to www.consumerfinance.gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-

The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant’s income derives from any public assistance program; or because
the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal Agency that
administers Carrington Mortgage Services, LLC's compliance with this law is the Federal Trade Commission, Equal
Credit Opportunity, Washington, DC 20580.

-SCRA DISCLOSURE-

MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections and
benefits to eligible military service personnel, including protections from foreclosure as well as interest rate relief. For
additional information and to determine eligibility please contact our Military Assistance Team toll free at

(888) 267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-

Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC, and
Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages of
the correspondence. You have the right to request documents we relied upon in reaching our determination. You may
request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m. Eastern
Time. You may also visit our website at https://carringtonmortgage.com/.

9282-06-XX-XXXXXXX-0002-0003 127

 
 

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NO571 Page 4 of 6

 

9282-06-XX-XXXXXXX-0002-0003 127
CARRINGTON

MORTGAGE SERVICES, LLC
Date : 08/01/2022

Loan Number hit

EXHIBIT A

ITEMIZED BREAKDOWN OF THE TOTAL AMOUNT DUE

PRINCIPAL & INTEREST 7 PAYMENT(S) @
ESCROW 6 PAYMENT(S) @
ESCROW 1 PAYMENT(S) @

UNCOLLECTED LATE CHARGES
PROPERTY INSPECTION FEE
PROP PRES - PHOTOS

TOTAL

NO571

 

9282-06-XX-XXXXXXX-0003-0003 126

$786.54
387.07
$395.73

$5,505.78
$2,322.42
$395.73
$188.11
$60.00
$30.00
$8,502.04

Page 5 of 6
 

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NO571 Page 6 of 6

9282-06-XX-XXXXXXX-0003-0003 126
 

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AROOSTOOK COUNTY ACTION PROGRAM, INC.
Address: 771 Main St, Presque Isle, Maine, 04769-2201
Phone: (207) 764-3721

Email:

Mortgage Delinquency ond Default Resolution Counseling

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Agency Id: 80502
Counseling Method: Group Counseling, Phone Counseling,
Video Conference, Face to Foce Counseling,

 

 

 

 

 

 

 

Website: hitp://www.acap-me.org Pre-Purchase Counseling English NIA
Agency Id: 83641 Pre-Purchase Homebuyer Education Workshops
Counseling Method: Group Counseling, Internet Counseling,
Phone Counseling, Video Conference,
Face to Face Counseling,
AVESTA HOUSING DEVELOPMENT CORPORATION Mortgage Del and Default Resolution Counseli
Address: 307 Cumberland Avenue, PORTLAND, Maine, 04101-4920 ak i
Phone: (207) 553-7780 Ext: 3347 d .
gc ae : . Pre-Purchase Homebuyer Education Workshops
Email: ndigeronimo@Davestahousing.org sila :
: Financial Management /Budget Counseling asa
Website: www.avestahousing.org : English W/A
Rental Housing Counseling
Agency Id: 81144 i
i . Rental Housing Workshops
Counseling Method: Group Counseling, Internet Counseling,
; Non-Delinquency Post Purchase Workshops
Other Counseling, Phone Counseling, ee .
s Home Improvement and Rehabilitation Counseling
Video Conference, Face to Face Counseling,
Mortgage Delinquency and Default Resolution Counseling
COASTAL ENTERPRISES, INCORPORATED ee one Education Worksh
Address: 30 Federal Street, BRUNSWICK, Maine, 04011-1510 SG a RG
Financial Management /Budget Counseling
Phona: (207) 504-5900 : E ;
aa ze Fair Housing Pre-Purchase Education Workshops ;
Email: jason.thomas@ceimaine.org : English
i \ ne Services for Homeless Counseling i WHA
Website: http://www.ceimaine.org ; : Spanish
Predatory Lending Education Workshops
Agency Id: 80985 : ;
‘ aps 5 4 Rental Housing Counseling
C gM Internet C ling, Phone C q,
Fen te Face Comesaling Reverse Mortgage Counseling
Non-Delinquency Post Purchase Workshops
Home improvement and Rehabilitation Counseling
COMMGHITY CONCERTS: ING: AISG DBE HOMEQUENTMAINE Mortgage Delinquency and Default Resolution Counselin
Address: 17 Market Sq, South Poris, Maine, 04281-1533 ng ened " g
Pre-Purchase Counseling
Phone: (207) 333-6419 :
: : Pre-Purchase Homebuyer Educotion Workshops ;
Email: homequest@2community-toncepts.org ek : English N/A
: ; er 1 Financial Management/Budget Counseling
Website: hitps://www.ccimaine.org/ 2 :
Agency Id: 81580 Fair Housing Pre-Purchase Education Workshops
Counseling Method: Phone Counseling, Face to Face Counseling, penal outing Counseling
FOUR DIRECTIONS DEVELOPMENT CORPORATION
Address: 20 Godfrey Or, Orono, Maine, 04473-3610 .
Phone: (207) 866-6545 Pre-Purchase Counseling
Email: Pre-Purchase Homebuyer Education Workshops
Bast httnsi/ ts ; Financial Management /Budget Counseling ge
fip://www.fourdirectionsmaine.org inoncial, Rudaeti Credit Worksh English NiA
Agency Id: 83879 |Finoncial, Budgeting, and Credit Workshops
3 . . Non-Delinquency Post Purchase Workshops
Counseling Method: Group Counseling, Internet Counseling, ees i
Sa Home Improvement and Rehabilitation Counseling
Phone Counseling, Video Conference,
Face to Face Counseling,
MENNEBEC VALLEY COMMUNITY ACTION PROGRAM
Address: 101 Water St, Waterville, Maine, 04901-6339
Phone: (800) 542-8227 Mortgage Delinquency and Default Resolution Counseling
Email: inlo(@kveop.org Pre-Purchase Counseling is WA
Website: hitp://www.kyvcap.org Pre-Purchase Homebuyer Education Workshops a
Agency Id: 81685 Financial Management /Budget Counseling
Counseling Method: Internet Counseling, Phone Counseling,
Face to Face Counseling,
|MAINE STATE HOUSING AUTHORITY
Address: 26 Edison Dr, Augusta, Maine, 04330-6046
Phone: (207) 626-4600 : |
Email: jgurney@mainehousing.org ease WA
Website: hitp://www.moinetousing.org
Agency Id: 81227
MIDCOAST MAINE COMMUNITY ACTION
Address: 34 Wing Farm Pkwy, Bath, Maine, 04590-1515
Phone: (207) 442-7963
Email: info@mmcacorp.org Services for Homeless Counseling English WA
Website: hitp://midcoustmainecommunityaction.org Rental Housing Workshops Spanish

 

9282-05-00 3-000 4-090 125

 
 

PENQUIS COMMUNITY ACTION PROGRAM
Address: 26? Harlow Si, Bangor, Maine, 0440) -4952
Phone: (207) 973-3500

Mortgage Delinquency and Defaull Resolution Counseling
Pre-Purchase Counseling

 

 

 

ae ; Pre-Purchase Homebuyer Education Workshops agin mh
Moblin: Bites {eww gong cicogg Financial, Budgeting, and Credit Workshops
Agency Id: 81649 yperaenely P
Counseling Method: Phone Counseling, Foce to Face Counseling,
Mortgage Delinquency and Default Resolution Counseling
YORK COUNTY COMMUNITY ACTION AGENCY Pre-Purchase Counseling
Address: 6 Spruce Street, SANFORD, Maine, 04073-2917 Pre-Purchase Homebuyer Education Workshops
Phone: (207) 459-2903 financial Management/Budget Counseling
Email: meaghan.arzberger@yccac.org Fair Housing Pre-Purchase Education Workshops English WA

Website: http://www.yccac.org

Agency td: 81150

Counseling Method: Group Counseliag, Phone Counseling,
Video Conference, Face to Face Counseling,

 

 

Services for Homeless Counseling

Predatory Lending Education Workshops

Rental Housing Counseling

Non-Delinquency Post Purchase Workshops

Home Improvement and Rebabilitation Counseling

 

 

 

 

 

 

9282-06-XX-XXXXXXX-0004-0003125

 

 
CARRINGTON

MORTGAGE SERVICES, LLC

P.O. Box 5001
Westfield, IN 46074

 

9214 8901 3536 2840 4236 99

0000002 02 SP 0.810 **SNGLP T2 19282 04240-613985 _ -C06-PO0D00-I

JOSHUA LUNA
85 SUMMIT AVE Loan Number ii
a LEWISTON ME 04240-6139

Property Address:
85 SUMMIT AVE

08/01/2022

NOTICE OF RIGHT TO CURE

Dear Mortgagor(s):

The above-referenced loan on behalf of CARRINGTON MORTGAGE SERVICES, LLC is in default because the monthly
payment(s) due on and after 01/01/2022 have not been received. You have thirty-five (35) days from the date this notice is
given to cure the default by paying the amounts that are past due. As of the date of this letter, the total amount to cure the
default is $8,502.04 less $0.00, monies held in a separate suspense account. Please refer to the attached Exhibii A for the
itemized breakdown of the total amount duc. The total amount due does not include any amounts that become due after
the date of this notice.

Please remit the total amount due utilizing one of the following payment resources:

 

First Class, Overnight or Certified Mail | Western Union! | MoneyGram!
Carrington Mortgage Services, LLC | Quick Collect (any location) | Receive Code - 7998
Cashiering Dept. 2-270 | Code City - CARRINGTONMS |
1600 South Douglass Road, Suites 110 & 200-A | Code State - CA |

|

Anaheim, CA 92806 |

 

1 You will pay a fee using this method of payment.

If you are unable to bring your account current, you may have available options other than foreclosure. You are encouraged
to explore available options prior to the end of the right-to-cure period by contacting:

e Carrington Mortgage Services, LLC’s toll free number at 1-800-561-4567, Monday through Friday 8:00 a.m. to 8:00
p.m. Eastern Time: or by mail at P.O. Box 3010, Anaheim, CA 92803; or

e The Department of Housing and Urban Development’s (HUD) Hotline Number at 1-800-569-4287 or you can visit
their website for a list of HUD-approved counselors in Maine at
http://www.hud.gov/offices/hsg/sfh/hce/hes.cfm?webListAction=search&searchstate=me to find out other options
you may have to avoid foreclosure. A list of HUD-approved counselors in Maine is attached to this notice as
Exhibit B.

NO571 aa Page 1 of 6

9282-06-XX-XXXXXXX-0001-0003124

 
 

If you are interested in loan modification, please contact our Home Retention Department’s toll free number at
1-800-561-4567, or by mail at P.O. Box 3010, Anaheim, CA 92803.

Failure to cure the delinquency within thirty-five (35) days of the date this notice is given may result in acceleration of the
sums secured by the mortgage and in the sale of the property. If you pay the total amount due before the time specified in
this notice, you will be restored to all rights under the mortgage as though the default had not occurred. You also have the
right in any lawsuit for foreclosure and sale to argue that you did keep your promises and agreements and to assert the
nonexistence of a default or any other defense to acceleration and foreclosure. You may request mediation to explore
options for avoiding foreclosure judgment.

You have the right to reinstate the loan after acceleration until such time as a foreclosure judgment has been entered if you:
1) pay the full amount that then would be due as if immediate payment in full had not been required: 2) correct your failure
to keep any of your other promises or agreements made in the note and mortgage: 3) pay all of lender's reasonable expenses
in enforcing the note and mortgage including, for example, reasonable attorney's fees; and 4) do whatever the lender
reasonably requires to assure that lender's rights in the subject property, lender's rights under the note and mortgage, and
your obligations under the note and mortgage remain unchanged. If you meet those conditions, you will have the right to
have the enforcement of the mortgage discontinued and to have the note and mortgage remain fully effective as if payment in
full had not been required.

Should you have any questions, please contact our Loan Counseling Department, toll free, at 1-800-561-4567, Monday
through Friday 8:00 AM to 8:00 PM Eastern Time.

Sincerely,

Loan Servicing Department
Carrington Mortgage Services, LLC

NO571 Page 2 of 6

 

9282-06-XX-XXXXXXX-0001-0003 12.4
IMPORTANT DISCLOSURES

-VERBAL INQUIRIES & COMPLAINTS-

For verbal inquiries and complaints about your mortgage loan, please contact the CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m. Eastern
Time, Monday through Friday. You may also visit our website at https://carringtonmortgage.com/.

-IMPORTANT BANKRUPTCY NOTICE-

If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have not
reaffirmed the mortgage, or if you are the subject of a pending bankruptcy proceeding, this letter is not an attempt to
collect a debt from you but merely provides informational notice regarding the status of the loan. If you are represented
by an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING AND DIRECT DISPUTES-

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms
of your credit obligations. If you have concerns regarding the accuracy of any information contained in a consumer
report pertaining to this account, you may send a direct dispute to Carrington Mortgage Services, LLC by fax to
800-486-5134 or in writing to Carrington Mortgage Services, LLC, and Attention: Customer Service, P.O. Box 5001,
Westfield, IN 46074. Please include your loan number on all pages of the correspondence.

-MINI MIRANDA-

This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained
will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and
does not imply that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy
laws of the United States.

-HUD COUNSELOR INFORMATION-

If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287 or
toll-free TDD (800) 877-8339, or by going to http:/Avww.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the
CFPB at (855) 411-2372, or by going to www.consumerfinance.gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-

The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant’s income derives from any public assistance program; or because
the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal Agency that
administers Carrington Mortgage Services, LLC's compliance with this law is the Federal Trade Commission, Equal
Credit Opportunity, Washington, DC 20580.

-SCRA DISCLOSURE-

MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections and
benefits to eligible military service personnel, including protections from foreclosure as well as interest rate relief. For
additional information and to determine eligibility please contact our Military Assistance Team toll free at

(888) 267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-

Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC, and
Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages of
the correspondence. You have the right to request documents we relied upon in reaching our determination. You may
request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m. Eastern
Time. You may also visit our website at https://carringtonmortgage.com/.

NO571 a Page 3 of.6

9282-06-XX-XXXXXXX-0002-0003 123

 
 

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NO571 Page 4 of 6

 

9282-06-XX-XXXXXXX-0002-0003 123
CARRINGTON

MORTGAGE SERVICES, LLC
Date : 08/01/2022

Loan Nunber

EXHIBIT A

ITEMIZED BREAKDOWN OF THE TOTAL AMOUNT DUE

PRINCIPAL & INTEREST 7 PAYMENT(S) @
ESCROW 6 PAYMENT(S) @
ESCROW 1 PAYMENT(S) @

UNCOLLECTED LATE CHARGES
PROPERTY INSPECTION FEE
PROP PRES - PHOTOS

TOTAL

9282-06-XX-XXXXXXX-0003-0003 122

 

$786.54
387.07
$395.73

$5,505.78
$2,322.42
$395.73
$188.11
$60.00
$30.00
$8,502.04

Page 5 of 6
 

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NO571 Page 6 of 6

 

9282-06-XX-XXXXXXX-0003-0003 122
 

pe ay EPIL RSL Tea) 116 3) VEU RIL Uta opie

 

AROOSTOOK COUNTY ACTION PROGRAM, INC.
Address: 771 Main St, Presque Isle, Maine, 04769-2201
Phone: (207) 764-3721

Email:

Mortgage Delinquency ond Default Resolution Counseling

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Agency Id: 80502
Counseling Method: Group Counseling, Phone Counseling,
Video Conference, Face to Foce Counseling,

 

 

 

 

 

 

 

Website: hitp://www.acap-me.org Pre-Purchase Counseling English NIA
Agency Id: 83641 Pre-Purchase Homebuyer Education Workshops
Counseling Method: Group Counseling, Internet Counseling,
Phone Counseling, Video Conference,
Face to Face Counseling,
AVESTA HOUSING DEVELOPMENT CORPORATION Mortgage Del and Default Resolution Counseli
Address: 307 Cumberland Avenue, PORTLAND, Maine, 04101-4920 ak i
Phone: (207) 553-7780 Ext: 3347 d .
gc ae : . Pre-Purchase Homebuyer Education Workshops
Email: ndigeronimo@Davestahousing.org sila :
: Financial Management /Budget Counseling asa
Website: www.avestahousing.org : English W/A
Rental Housing Counseling
Agency Id: 81144 i
i . Rental Housing Workshops
Counseling Method: Group Counseling, Internet Counseling,
; Non-Delinquency Post Purchase Workshops
Other Counseling, Phone Counseling, ee .
s Home Improvement and Rehabilitation Counseling
Video Conference, Face to Face Counseling,
Mortgage Delinquency and Default Resolution Counseling
COASTAL ENTERPRISES, INCORPORATED ee one Education Worksh
Address: 30 Federal Street, BRUNSWICK, Maine, 04011-1510 SG a RG
Financial Management /Budget Counseling
Phona: (207) 504-5900 : E ;
aa ze Fair Housing Pre-Purchase Education Workshops ;
Email: jason.thomas@ceimaine.org : English
i \ ne Services for Homeless Counseling i WHA
Website: http://www.ceimaine.org ; : Spanish
Predatory Lending Education Workshops
Agency Id: 80985 : ;
‘ aps 5 4 Rental Housing Counseling
C gM Internet C ling, Phone C q,
Fen te Face Comesaling Reverse Mortgage Counseling
Non-Delinquency Post Purchase Workshops
Home improvement and Rehabilitation Counseling
COMMGHITY CONCERTS: ING: AISG DBE HOMEQUENTMAINE Mortgage Delinquency and Default Resolution Counselin
Address: 17 Market Sq, South Poris, Maine, 04281-1533 ng ened " g
Pre-Purchase Counseling
Phone: (207) 333-6419 :
: : Pre-Purchase Homebuyer Educotion Workshops ;
Email: homequest@2community-toncepts.org ek : English N/A
: ; er 1 Financial Management/Budget Counseling
Website: hitps://www.ccimaine.org/ 2 :
Agency Id: 81580 Fair Housing Pre-Purchase Education Workshops
Counseling Method: Phone Counseling, Face to Face Counseling, penal outing Counseling
FOUR DIRECTIONS DEVELOPMENT CORPORATION
Address: 20 Godfrey Or, Orono, Maine, 04473-3610 .
Phone: (207) 866-6545 Pre-Purchase Counseling
Email: Pre-Purchase Homebuyer Education Workshops
Bast httnsi/ ts ; Financial Management /Budget Counseling ge
fip://www.fourdirectionsmaine.org inoncial, Rudaeti Credit Worksh English NiA
Agency Id: 83879 |Finoncial, Budgeting, and Credit Workshops
3 . . Non-Delinquency Post Purchase Workshops
Counseling Method: Group Counseling, Internet Counseling, ees i
Sa Home Improvement and Rehabilitation Counseling
Phone Counseling, Video Conference,
Face to Face Counseling,
MENNEBEC VALLEY COMMUNITY ACTION PROGRAM
Address: 101 Water St, Waterville, Maine, 04901-6339
Phone: (800) 542-8227 Mortgage Delinquency and Default Resolution Counseling
Email: inlo(@kveop.org Pre-Purchase Counseling is WA
Website: hitp://www.kyvcap.org Pre-Purchase Homebuyer Education Workshops a
Agency Id: 81685 Financial Management /Budget Counseling
Counseling Method: Internet Counseling, Phone Counseling,
Face to Face Counseling,
|MAINE STATE HOUSING AUTHORITY
Address: 26 Edison Dr, Augusta, Maine, 04330-6046
Phone: (207) 626-4600 : |
Email: jgurney@mainehousing.org ease WA
Website: hitp://www.moinetousing.org
Agency Id: 81227
MIDCOAST MAINE COMMUNITY ACTION
Address: 34 Wing Farm Pkwy, Bath, Maine, 04590-1515
Phone: (207) 442-7963
Email: info@mmcacorp.org Services for Homeless Counseling English WA
Website: hitp://midcoustmainecommunityaction.org Rental Housing Workshops Spanish

 

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PENQUIS COMMUNITY ACTION PROGRAM
Address: 26? Harlow Si, Bangor, Maine, 04401 -4952
Phone: (207) 973-3500

Mortgage Delinquency and Defaul! Resolution Counseling
Pre-Purchase Counseling

 

 

 

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peeioins Dr Sew gong Financial, Budgeting, and Credit Workshops
Agency Id: 81649 : !
Counseling Method: Phone Counseling, Foce to Face Counseling,
Mortgage Delinquency and Default Resolution Counseling
YORK COUNTY COMMUNITY ACTION AGENCY Pre-Purchase Counseling
Address: 6 Spruce Street, SANFORD, Maine, 04073-2917 Pre-Purchase Homebuyer Education Workshops
Phone: (207) 459-2903 financial Management/Budget Counseling
Email: meaghan.arzberger@yccac.org Fair Housing Pre-Purchase Education Workshops English WA

Website: http://www.yccac.org

Agency Id; 81150

Counseling Method: Group Counseliag, Phone Counseling,
Video Conference, Face to Face Counseling,

 

 

Services for Homeless Counseling

Predatory Lending Education Workshops

Rental Housing Counseling

Non-Delinquency Post Purchase Workshops

Home Improvement and Rebabilitation Counseling

 

 

 

 

 

 

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